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  Fill in this information to identify your case:

  Debtor 1        Curtis                     Eugene                   Cole

                                                                                                             □
                  First Name                 Middle Name              Last Name
                                                                                                                  Check if this is an amended plan, and
  Debtor 2         Lorie                     Ann                      Cole                                        list below the sections of the plan that
  (Spouse. if fJing) First Name              Middle Name              Last Name                                   have been changed. Amendments to
                                                                                                                  sections not listed below will be
United States Bankruptcy Court for the Northern District of Georgia                                               ineffective even if set out later in this
                                                                                                                  amended plan.
  Case number        20-40008
  (ifkno.,.m)




Chapter 13 Plan
NOTE:                      The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use
                           in Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See
                           Order Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order
                           No. 21-2017, available in the Clerk's Office and on the Bankruptcy Court's website, ganb.uscourts.gov.
                           As used in this plan, "Chapter 13 General Order" means General Order No. 21-2017 as it may from time
                           to time be amended or superseded.


H#IM
To Debtor(s):
                      Notices

                           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                           option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and judicial
                           rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           Check if applicable.

                           D      The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set out in
                                  § 4.4.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                           have an attorney, you may wish to consult one.

                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders
                           otherwise. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015.

                           To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is
                           deemed allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                           The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                           controlling, unless the Bankruptcy Court orders otherwise.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                           not the plan includes each of the following items. If an item is checked as "Not included," if both boxes are
                           checked, or if no box is checked, the provision will be ineffective even if set out later in the plan.

                             § 1.1
                                       A limit on the amount of a secured claim, that may result in a partial
                                       payment or no payment at all to the secured creditor, set out in § 3.2
                                                                                                                       � Included               D Not Included
                             § 1.2
                                       Avoidance of a judicial lien or nonpossessory, nonpurchase-money
                                       security interest, set out in § 3.4
                                                                                                                       � Included               D Not Included
                             § 1.3     Nonstandard provisions, set out in Part 8                                       D Included               � Not Included




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 Debtor Curtis Eugene Cole and Lorie Ann Cole                                              Case number        ------------------
                 Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1   Regular Payments to the trustee;;applicable commitment period.
        The applicable commitment period for th� debtor(s) as set forth in 11 U.S.C.§ 1325(b)(4) is:
        Check one:    [!] 36 months           O 60 months
        Debtor(s) will make regular paymerits ("Regular Payments") to the trustee as follows:

        The debtor(s) will pay          $395.00 per __m_o _nt_h__ for the applicable commitment period. If the applicable commitment period is 36
        months, additional Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan. not to exceed
        60 months unless the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of
        the applicable commitment period, �o further Regular Payments will be made.
        Check if applicable.
        O The amount of the Regular Payment will change as follows (If this box is not checked, the rest of§ 2.1 need not be completed or
           reproduced. Insert additional line� as needed for more changes.):
        Beginning on               The Regular Payment                  For the following reason (insert reason for change):
                                                                                                                                                          ..
        (insert date):             amount will change to
                                   (insert amount):

                                                  per      month


§ 2.2   Regular Payments; method of payment.
        Regular Payments to the trustee wili be made from future income in the following manner:
        Check all that apply.
        0 Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the trustee the
          amount that should have been deducted.

        [!] Debtor(s) will make payments directly to the trustee.

        O Other (specify method of payment):

§ 2.3   Income tax refunds.
        Check one.
        [!] Debtor(s) will retain any income tax refunds received during the pendency of the case.
        0 Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days of
          filing the return and (2) tum over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
          commitment period for tax years --- - - - --                               . the amount by which the total of all of the income tax refunds
                                             _        =- --, � ......,-         -,,-
          received for each year exceeds $2,000 ("Tax Refunds"), unless the Bankruptcy Court orders otherwise. If debtor's spouse is not a
          debtor in this case, "tax refunds received" means those attributable to the debtor.

        D   Debtor(s) will treat tax refunds ("Tax Refunds") as follows:



§ 2.4   Additional Payments.
        Check one.
        [!] None. If "None" is checked, the rest of§ 2.4 need not be completed or reproduced.

§ 2.5   [Intentionally omitted.]



§ 2.6   Disbursement of funds by trustee to holders of allowed claims.

        (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of allowed
        claims as set forth in§§ 3.2 and 3.3.
        (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee's statutory fee. the trustee will disburse Regular
        Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed claims as follows:
          (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation. the trustee will disburse all
          available funds from Regular Payments in the following order:
             (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in§ 3.2. § 3.3. and
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Debtor Curtis Eugene Cole and Lorie Ann Cole                                                 Case number       ------------------
               orders of the Bankruptcy Court;
                (B) To pay fees. expenses. and costs of the attorney for the debtor(s) as set forth in§ 4.3;
                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in§§ 3.1, 3.2. 3.3. and 3.4; on
                domestic support obligations as set forth in§ 4.4; on the arrearage claims on nonpriority unsecured claims as set forth in§ 5.2; and on
                executory contracts and unexpired leases as set forth in§ 6.1: and
                (D) To pay claims in the order set forth in§ 2.6(b)(3).
            (2) Second and subsequent disbursements after confirmation of Regular Payments. In the second disbursement after confirmation. and
            each month thereafter. the trustee will disburse all available funds from Regular Payments in the order below. All available Regular Payments
            will be distributed to the claims in each paragraph until such claims are paid in full.
                (A) To make concurrent monthly payments. including any amount past due under this plan: on secured claims as set forth in§§ 3.1. 3.2. 3.3.
                and 3.4; on fees. expenses. and costs of the attorney for the debtor(s) as set forth in§ 4.3; on domestic support obligations as set forth in
               § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and executory contracts and unexpired leases as
                set forth in§ 6.1:
               (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C.§ 503(b) other than the trustee's fee and the debtor's
               attorney's fees. expenses. and costs; and
                (C) To pay claims in the order set forth in§ 2.6(b)(3).
            (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax Refunds in the
            following order:
                (A) To pay fees, expenses. and costs of the attorney for the debtor(s) as set forth in§ 4.3;
                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C.§ 503(b) other than the trustee's fee and the debtor's
                attorney's fees. expenses. and costs;
               (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in§§ 3.1. 3.2. 3.3. and 3.4; on
               domestic support obligations as set forth in§ 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in§ 5.2 and
               executory contracts and unexpired leases as set forth in§ 6.1;
               (D) To pay other Allowed Secured Claims as set forth in§ 3.6;
               (E) To pay allowed claims entitled to priority under 11 U.S.C.§ 507, other than administrative expenses and domestic support obligations;
               and
               (F) To pay nonpriority unsecured claims not otherwise classified as set forth in§ 5.1 ("Unclassified Claims") and to pay nonpriority
               unsecured claims separately classified as set forth in§ 5.3 ("Classified Claims"). The trustee will estimate the total amounts to be disbursed
               during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds available for disbursement on these claims will
               be allocated pro rata to each class, and the funds available for disbursement for each class will be paid pro rata to the creditors in the class.
            (4) Unless the debtor(s) timely advise(s) the trustee otherwise in writing, the trustee may treat and disburse any payments received from the
            debtor(s) as Regular Payments.



HifM
§ 3.1
                 Treatment of Secured Claims

        Maintenance of payments and cure of default, if any.
        Check one.
        D    None. If "None" is checked, the rest of§ 3.1 need not be completed or reproduced.
        � Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the current
          contractual installment payments on the secured claims listed below. with any changes required by the applicable contract and noticed in
          conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any existing arrearage on a listed claim will
          be paid in full through disbursements by the trustee, with interest, if any. at the rate stated below.
             If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then. unless the Bankruptcy Court orders
             otherwise. all payments under this paragraph as to that collateral will cease. and all secured claims based on that collateral will no longer be
             treated by the plan.

              Name of creditor                                     Collateral                 Estimated amount of     Interest rate on     Monthly plan
                                                                                              arrearage (if any)      arrearage            payment on
                                                                                                                      (if applicable)      arrearage

             Wells Fargo Home Mortgage                                     Residence@              $10,811.00                      0.00%       $267.00/monthly
                                                                          105 Lindsey Dr                                                               starting
                                                                          Cartersville. GA                                                         March 2021
                                                                           30120-2755

§ 3.2   Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

        D    None. If "None" is checked, the rest of§ 3.2 need not be completed or reproduced.

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Debtor Curtis Eugene Cole and Lorie Ann Cole                                                Case number
            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
          � The debtor{s) request(s) that the Bankruptcy Court determine the value of the secured claims listed below.
              For each non-governmental secured claim listed below, the debtor(s) state{s) that the value of the secured claim should be as set out in the
              column headed Amount of secured claim. For secured claims of governmental units, unless the Bankruptcy Court orders otherwise, the value
              of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For
              each creditor checked below, debtor{s) will file a motion pursuant to Bankruptcy Rule 3012 and the Chapter 13 General Order to request
              determination of the amount of the secured claim.
              For each listed claim below, the value of the secured claim will be paid in full with interest at the rate stated below. The portion of any allowed
              claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the amount of a
              creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety as an unsecured claim
              under Part 5 of this plan.
              The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326{a){1){C) requires to the creditor in the
              amount set out in the column headed Monthly preconfirrnation adequate protection payment.
              The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
              of the debtor{s) or the estate(s) until the earlier of:
              {a) payment of the underlying debt determined under nonbankruptcy law, or
              {b) ·payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under
              11 l.J.S.C. § 1328, at which lime the lien will terminate and be released by the creditor.
        Check Name of creditor              Estimated     Collateral and     Value of         Amount of          Amount of    Interest   Monthly        Monthly
        only if                             amount of     date of purchase   collateral       claims senior to   secured      rate       pre-           post•

 +      motion
        to be
                                            total claim                                       creditor's claim   claim                   confirmation
                                                                                                                                         adequate
                                                                                                                                                        confirmation
                                                                                                                                                        payment
        filed                                                                                                                            protection
                                                                                                                                         payment

               Kia Motors Finance              $5,896.00 2012 Ford                $3,994.00              S0.00     S3994.00       5.0%        $40.00         $40.00
                                                         Fusion                                                                                             monthly
                                                                                                                                                            through
                                                          10/15/2014                                                                                       February
         □                                                                                                                                                     2021
                                                                                                                                                        then step to
                                                                                                                                                            $98.00/
                                                                                                                                                            monthly
                                                                                                                                                            starting
                                                                                                                                                        March 2021

§ 3.3     Secured claims excluded from 11 U.S.C. § 506.

          Check one.
          � None. If "None" is checked, the rest of§ 3.3 need not be completed or reproduced.

§ 3.4     Lien avoidance.

          Check one.
          D   None. if "None" is checked, the rest of§ 3.4 need not be completed or reproduced.
            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
          � The judicial liens and/or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which
            the debtor{s) would have been entitled under 11 U.S.C. § 522{b). Unless the Bankruptcy Court orders otherwise. a judicial lien or security
            interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan.
            The amount of the claim secured by the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the
            extent allowed. The amount, if any, of the claim secured by the judicial lien or security interest that is not avoided will be paid in full as a
            secured claim under the plan to the extent allowed. See 11 U.S.C. § 522{f) and Bankruptcy Rule 4003(d). If more than one lien is to be
            avoided, provide the information separately for each lien.




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Debtor Curtis Eugene Cole and Lorie Ann Cole                                                  Case number         ------------------
              Information regarding                 Calculation of lien avoidance                                                 Treatment of remaining
              judicial lien or security                                                                                           secured claim
              interest



              Name of creditor                                                                                                    Amount of secured claim after
                                                    a.     Amount of lien                                             $790.00     avoidance (line a minus line f)
              Service Loan & Tax Service
              Cartersville
                                                    b.     Amount of all other liens                               $92,914.00                           ($1,920.00)
              Collateral
              NPMSI HHGs                            C.     Value of claimed exemptions                             S47,021.00    Interest rate (if applicable)


                                                    d.     Total of lines a, b, and c                            S140,725.00                               %

                                                    e.    Value of debtor(s) interest in                                          Monthly payment on secured
                                                          property                             -                 $138,015.00      claim


              Lien identification (such as          f.   Subtract line e from line d                                $2,710.00
              judgment date, date of lien
              recording)
                                                    Extent of exemption impairment
              UCC-1
                                                    (Check applicable box).

                                                         [!] Line f is equal to or greater than line a.
                                                             The entire lien is avoided. (Do not complete the next column.)
                                                         D   Line f is less than line a.
                                                             A portion of the lien is avoided. (Complete the next column.)

§ 3.5    Surrender of collateral.

         Check one.
        [!] None. If "None" is checked, the rest of§ 3.5 need not be completed or reproduced.

§ 3.6   Other Allowed Secured Claims.

        A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the rate
        of___ 5 %. Payments will commence as set forth in§ 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in interest, may:
        object lo allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification of the claim is
        permissible and if 11 U.S.C.§ 506 is applicable; or request that the Bankruptcy Court avoid the creditor's lien pursuant to 11 U.S.C.§ 522(!), if
        applicable.
        If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured claim
        will be treated as an unsecured claim under Part 5 of this plan.
        The holder of the claim will retain the lien on the property interest of the debtor(s) or the estale(s) until the earlier of:
        (a) payment of the underlying debt determined under nonbankruptcy law, or
        (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
        § 1328, al which time the lien will terminate and be released by the creditor.




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                                                                                                                     ------------------
Mil■
Debtor Curtis Eugene Cole and Lorie Ann Cole                                                     Case number

                     Treatment of Fees and Priority Claims

§ 4.1       General.

            Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full regardless
            of whether ii is listed in§ 4.4.
§ 4.2       Trustee's fees.

            Trustee's fees are governed by statute and may change during the course of the case.
§ 4.3 Attorney's fees.

            (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
            $    4.865.00    . The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General Order
            22-2017 ("Chapter 13 Attorney's Fees Order"), as it may be amended.

            (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent set
            forth in the Chapter 13 Attorney's Fees Order.

            (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in§ 4.3(a)
            above upon application of the attorney in compliance with the Chapter 13 Attorney's Fees Order and after notice and a hearing.

            (d) From the first disbursement after confirmation, the attorney will receive payment under§ 2.6(b)(1) up to the allowed amount set forth in
            § 4.3(a).

            (e) The unpaid balance and any additional amounts allowed under§ 4.3(c) will be payable (1) at$       325.00      per month from Regular
            Payments and (2) from Tax Refunds or Additional Payments, as set forth in§ 2.6, until all allowed amounts are paid in full.

            (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the debtor(s)
            the amount of$ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits. If the attorney for the
            debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the
            stated amount or the maximum amount to the attorney, whichever is less.

            (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
            $     2.500.00     , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set forth in
            the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum amount within
            14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13
            Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

            (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the debtor{s),
            from the funds available, any allowed fees, expenses, and costs that are unpaid.

            (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any allowed
            fees, expenses, and costs that are unpaid.


§ 4.4       Priority claims other than attorney's fees.
            D    None. If "None" is checked, the rest of§ 4.4 need not be completed or reproduced.

            (a) Check one.
            � The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of§ 4.4(a) need not be completed or reproduced.

            D   The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all post-petition domestic support
                obligations directly to the holder of the claim.

                 Name and address of creditor:               Name and address of child support                      Estimated amount of        Monthly plan payment
    +                                                        enforcement agency entitled to § 1302(d)(1)            claim
                                                             notice

        -
            (b) The debtor(s) has/have priority claims other than attorney's fees and domestic support obligations as set forth below:

                 Name and address of creditor:                                                                                 Estimated amount of claim
    +

        -        Internal Revenue Service (Notice Only)                                                                                                           $0.00

        -        Georgia Department of Revenue (Notice Only)                                                                                                      $0.00



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Debtor Curtis Eugene Cole and Lorie Ann Cole                                               Case number        -----------------
                Treatment of Nonpriority Unsecured Claims
§ 5.1   Nonpri�rlty unsecure� claims not separately classified.
        Allowe�· nonpriority-unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims will
        receive:
        Check one.
        D   A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

        D   A pro rata portion of the larger of (1) the sum of$_____ and (2) the funds remaining after disbursements have been made to all other
            creditors provided for in this plan.
        � The larger of (1) ___o._oo_% of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have been
          made to all other creditors provided for in this plan.
        D   100% of the total amount of these claims

        Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims filed and
        allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the attorney for the
        debtor(s). and other.priority claims under Part 4.

§ 5.2   Maintenance of payments and cure of any default on nonpriority unsecured claims.
        Check one.
        � None. If "None" is checked, the rest of§ 5.2 need not be completed or reproduced.

§ 5.3   Other separately classified nonpriority unsecured claims.
        Check one.
        [!I None. If "None" is checked, the rest of§ 5. 3 need not be completed or reproduced.

                Executory Contracts and Unexpired Leases

§ 6.1   The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
        and unexpired leases are rejected.

        Check one.
        � None. If "None" is checked, the rest of§ 6. 1 need not be completed or reproduced.

HlfM
§ 7.1
                Vesting of Property of the Estate

        Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in the
        debtor(s} only upon: (1) discharge of the debtor(s}; (2) dismissal of the case; or (3) closing of the case without a discharge upon the
        completion of payments by the debtor(s).


I§•:M
§ 8.1
                Nonstandard Plan Provisions

        Check "None" or list Nonstandard Plan Provisions.
        [!I None. If "None" is checked, the rest of Part 8 need not be completed or reproduced.




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Debtor     Curtis Eugene Cole and Lorie Ann Cole                                         Case number


I#fM            Signatures




                                                                                                                      c�
        Signatures of Debtor(s) and Attorney for Debtor(s).
        The debt�r(     ust sign below. The attorney for the debtor(s), if any, must sign below.
§ 9.1

                   ;)'1
                                                                                              l
   x,            /-(_
         · nature of debtor 1 executed on 12 / 30 / 2019
                                                                                   Xis/     _O¼ A
                                                                                        Sign ure of �ebtor 2 executed on 12 / 30 / 2019
                                          MM/DD/YYYY                                                                     MM/DD/YYYY

        105 Lindsey Dr Cartersville, GA 30120-2755                                      105 Lindsey Dr Cartersville, GA 30120-2755
        Address                                    City, State, ZIP code                Address                                    City, State, ZIP code


   X                                                                                   Date: 12 1 30 1 2019
        Signature o                                                                          MM/DD/YYYY



        Brian R. Cahn & Associates, LLC                                                 P.O. Box 3696, Cartersville, GA 30120-1712
        Firm                                                                            Address                                    City, State, ZIP code


By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the p_rovisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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